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RECEIVED

Anthony G. Thomas ANN EES
7725 Peavine Peak Court Ee
Reno, NV 89523 - .9c
Tel: (408) 640-2795 2019 JUL -8 AM 9:36
E-mail: atemerald2@gmail.com Bcerae .

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Debtor In Propria Persona -eorOTt, CLERA

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO
IN RE:
ANTHONY THOMAS and
WENDI THOMAS
AT EMERALD, LLC

Case No. BK-N-14-50333-GS
Case No. BK-N-14-60442-GS
(Jointly Administered)

CHAPTER 7

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) WITNESS LIST RE: EVIDENTIARY

) HEARING RE: SALE OF THOMAS
Debtors. EMERALD

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Date: July 19" 2019
Time: 1:00 p.m.

Judge: Hon. Gary Spraker
Courtrm: 2

 

PLEASE TAKE NOTE that Debtor Anthony G. Thomas hereby submits the
following Witness List for the Evidentiary Hearing captioned above:
1 Jeffrey L. Hartmann
Ken Tersini
Jennifer Jodoin
Hudson Stremmel
Stremmel Auctions, Inc.
Hon. Bruce T. Beesley
Steve Stremmel

Nick Strozza

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Paul S. Mula

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Jeri Coppa-Knudson
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Dated: July 8" 2019. Respectfully submitted,

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In Propria Persona

   

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DEBTOR ANTHONY G THOMAS'’s WITNESS Cis]

 
